Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 1 of 6
Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 2 of 6
Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 3 of 6
Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 4 of 6
Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 5 of 6
Case 5:12-cr-04074-LTS-KEM   Document 261   Filed 07/31/13   Page 6 of 6
